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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                Eastern Division

Susan Phillips, et al.
                                      Plaintiff,
v.                                                       Case No.: 1:22−cv−01048
                                                         Honorable Andrea R. Wood
The United States of America
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, October 20, 2022:


        MINUTE entry before the Honorable Andrea R. Wood: Defendant's agreed motion
for entry of protective order [18] is granted. Enter Order. The telephonic motion hearing
set for 10/20/2022 is stricken. The parties do not need to appear. Mailed notice (lma, )




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